            Case 6:22-cv-00065-ADA Document 1 Filed 01/18/22 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION




        CALLSTAT SOLUTIONS LLC,                               CASE NO. 6:22-cv-00065

                Plaintiff,                                    PATENT CASE

                V.                                            JURY TRIAL DEMANDED

        QUALCOMM INCORPORATED,

                Defendant.



                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Callstat Solutions LLC (“Plaintiff” and/or “Callstat”)), through its attorneys,

complains of Qualcomm Incorporated (“Defendant” and/or “Qualcomm”) for infringement of

United States Patent Nos. 6,137,789 (hereinafter “the ‘789 Patent”) and 6,510,148 (hereinafter

“the ‘148 Patent”), and alleges the following:

                                           PARTIES

       1.      Plaintiff Callstat Solutions LLC is a corporation organized and existing under the

laws of Delaware that maintains its principal place of business at 261 West 35th St, Suite 1003,

New York, NY 10001.

       2.      Defendant Qualcomm Incorporated is a corporation organized and existing under

the laws of Delaware that maintains an established place of business at 9600 N. Mopac, Suite

900, Stonebridge Plaza II, Austin, Texas 78759.




                                                  1
            Case 6:22-cv-00065-ADA Document 1 Filed 01/18/22 Page 2 of 6




       3.      Upon information and belief, Defendant may be served through its agent, The

Prentice-Hall Corporation System, Inc., at Corporate Trust Center, 251 Little Falls Drive,

Wilmington, DE 19808.

                                          JURISDICTION

       4.      This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       5.      This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).

       6.      This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

                                               VENUE

       7.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

an established place of business in this District. In addition, Defendant has committed acts of

patent infringement in this District, and Plaintiff has suffered harm in this district.

                                        PATENTS-IN-SUIT

       8.      Plaintiff is the assignee of all right, title and interest in United States Patent Nos.

6,137,789; and 6,510,148 (the “Patents-in-Suit”); including all rights to enforce and prosecute

actions for infringement and to collect damages for all relevant times against infringers of the

Patents-in-Suit. Accordingly, Plaintiff possesses the exclusive right and standing to prosecute the

present action for infringement of the Patents-in-Suit by Defendant.

                                        THE ’789 PATENT

       9.      The ’789 Patent is entitled “Mobile station employing selective discontinuous

transmission for high speed data services in CDMA multi-channel reverse link configuration,”
                                              2
          Case 6:22-cv-00065-ADA Document 1 Filed 01/18/22 Page 3 of 6




and issued 2000-10-24. The application leading to the ’789 Patent was filed on 1997-06-26. A

true and correct copy of the ’789 Patent is attached hereto as Exhibit 1 and incorporated herein

by reference.

                                       THE ’148 PATENT

       10.      The ’148 Patent is entitled “Selective discontinuous transmission for high speed

data services in CDMA multi-channel configuration,” and issued 2003-01-21. The application

leading to the ’148 Patent was filed on 2000-10-23. A true and correct copy of the ’148 Patent is

attached hereto as Exhibit 2 and incorporated herein by reference.

                    COUNT 1: INFRINGEMENT OF THE ’789 PATENT

       11.      Plaintiff incorporates the above paragraphs herein by reference.

       12.      Direct Infringement. Defendant directly infringed one or more claims of the

’789 Patent in at least this District by making, using, offering to sell, selling and/or importing,

without limitation, at least the Defendant products identified in the charts incorporated into this

Count below (among the “Exemplary Defendant Products”) that infringed at least the exemplary

claims of the ’789 Patent also identified in the charts incorporated into this Count below (the

“Exemplary ’789 Patent Claims”) literally or by the doctrine of equivalents. On information and

belief, numerous other devices that infringed the claims of the ’789 Patent have been made, used,

sold, imported, and offered for sale by Defendant and/or its customers.

       13.      Defendant also directly infringed, literally or under the doctrine of equivalents,

the Exemplary ’789 Patent Claims, by having its employees internally test and use these

Exemplary Products.

       14.      Exhibit 3 includes charts comparing the Exemplary ’789 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products


                                                 3
          Case 6:22-cv-00065-ADA Document 1 Filed 01/18/22 Page 4 of 6




practice the technology claimed by the ’789 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’789 Patent Claims.

       15.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 3.

       16.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                       COUNT 2: INFRINGEMENT OF THE ’148 PATENT

       17.      Plaintiff incorporates the above paragraphs herein by reference.

       18.      Direct Infringement. Defendant directly infringed one or more claims of the

’148 Patent in at least this District by making, using, offering to sell, selling and/or importing,

without limitation, at least the Defendant products identified in the charts incorporated into this

Count below (among the “Exemplary Defendant Products”) that infringed at least the exemplary

claims of the ’148 Patent also identified in the charts incorporated into this Count below (the

“Exemplary ’148 Patent Claims”) literally or by the doctrine of equivalents. On information and

belief, numerous other devices that infringed the claims of the ’148 Patent have been made, used,

sold, imported, and offered for sale by Defendant and/or its customers.

       19.      Defendant also directly infringed, literally or under the doctrine of equivalents,

the Exemplary ’148 Patent Claims, by having its employees internally test and use these

Exemplary Products.

       20.      Exhibit 4 includes charts comparing the Exemplary ’148 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’148 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’148 Patent Claims.


                                                 4
             Case 6:22-cv-00065-ADA Document 1 Filed 01/18/22 Page 5 of 6




        21.     Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 4.

        22.     Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                                           JURY DEMAND

        23.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the following relief:

        A.      A judgment that the ’789 Patent is valid and enforceable

        B.      A judgment that Defendant has infringed directly one or more claims of the ’789

                Patent;

        C.      A judgment that the ’148 Patent is valid and enforceable

        D.      A judgment that Defendant has infringed directly one or more claims of the ’148

                Patent;

        E.      An accounting of all damages not presented at trial;

        F.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

                for Defendant's past infringement at least with respect to the ’789; and ’148

                Patents.

        G.      And, if necessary, to adequately compensate Plaintiff for Defendant's

                infringement, an accounting:




                                                     5
         Case 6:22-cv-00065-ADA Document 1 Filed 01/18/22 Page 6 of 6




               i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                    and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                    that it incurs in prosecuting this action;

              ii.   that Plaintiff be awarded costs, and expenses that it incurs in prosecuting

                    this action; and

             iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                    deems just and proper.


Dated: January 18, 2022                   Respectfully submitted,


                                          /s/ Jay Johnson
                                          JAY JOHNSON
                                          State Bar No. 24067322
                                          D. BRADLEY KIZZIA
                                          State Bar No. 11547550
                                          KIZZIA JOHNSON, PLLC
                                          1910 Pacific Ave., Suite 13000
                                          Dallas, Texas 75201
                                          (214) 451-0164
                                          Fax: (214) 451-0165
                                          jay@kjpllc.com
                                          bkizzia@kjpllc.com

                                          ATTORNEYS FOR PLAINTIFF




                                                 6
